STATE OF NORTH CAROLINA           —                 IN THE GENERAL COURT OF JUSTICE

COUNTY OF MECKLENBURG


LAKE NORMAN AUTO MALL, LLC, AMR
d/b/a/ KEFFER MAZDA,
                                              0>1 2019        I
                                   AT           \             [
                                   ay    —-—             _m
         Plaintiff
                                   —      ^SwlwvswCOURT— I
                                                )       TEMPORARY RESTRAINING
v.
                                                )                  ORDER
                                                )
JAMES BECKLEY,                                  )
                                                )
         Defendant.                             )
                                                )

        THIS CAUSE coming on to be heard and being heard before the undersigned Judge
presiding over the July 29, 2019 Civil Session of the Mecklenburg County Superior Court upon
Plaintiff's Motion for a Temporary Restraining Order (the "Motion"); and Plaintiff appearing
through counsel of record; and Defendant James Beckley ("Beckley") having been given notice
of this hearing; and the Court having considered the matters of record including the Complaint,
the Motion, and the Affidavits of Jackie Furr Robinson and Nicholas Angelo Defelice; and
having further considered argument of counsel, the Court finds and concludes as follows:

                                    FINDINGS OF FACT

        1.    Notice of this Motion and hearing were provided to Beckley by emailing to his
last known email address copies of the Motion, Notice of Hearing for the Motion, Summons, and
Complaint on July 29, 2019, and receiving confirmation of delivery.

         2.    Immediately prior to Beckley' s resignation of his employment with Plaintiff on
July 13, 2019, Beckley was employed by Plaintiff as the General Manager of Plaintiff's Mazda-
branded motor vehicle dealership in Huntersville, North Carolina ("Keffer Mazda").

        3.      Beckley was at the time of the termination of his employment with Plaintiff, and
is currently, subject to a Confidentiality and Non-Solicitation Agreement (the "Agreement"), a
copy of which is attached to Plaintiffs Complaint as Exhibit A.

       4.      Beckley is currently employed as the General Manager of another automobile
dealership located within one mile of Keffer Mazda that uses and competes for employees
possessing the same skill sets and experience as those employed by Plaintiff.

         5.   Shortly after Beckley resigned his employment with Plaintiff, Beckley actively
solicited employees of Plaintiff, including employees Jeremy Levia, Jamie Coffman-Tarr,
Michael Barbeau, Arkeayes Cunningham, and Jordan West, and encouraged them to terminate
their employment with Plaintiff in order to work with Beckley at his new place of employment,




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all without Plaintiffs consent or permission. Each of the employees listed in this paragraph did
in fact resign their employment with Plaintiff and accepted a job offer to work with Beckley.

        6.     On July 18, 2019, promptly after learning of these solicitations, Keffer's attorney
sent a cease and desist letter to Beckley via email and Federal Express advising that a lawsuit
would be filed against him if the impermissible solicitation did not immediately cease. A copy
of that letter is attached to Plaintiffs Complaint as Exhibit B.

         7.     However, Beckley did not stop the solicitations.

        8.     Plaintiff has been damaged as a result of Beckley' s breaches of the Agreement,
namely Beckley' s solicitation of Plaintiff s employees, and Plaintiff is likely to suffer immediate
and irreparable harm to Plaintiffs business operations if injunctive relief is not granted.

         9.     Based on the record, Plaintiff is likely to succeed on the merits and to prevail on
its claims against Beckley.

          10.  Under the terms of the Agreement, Beckley acknowledged and agreed that in the
event of a breach or threatened breach thereof, calculation of money damages would be
extremely difficult, if not impossible, and that therefore Plaintiff would be entitled to injunctive
relief.

          11.  The Court finds and concludes that given the nature and narrowness of the
injunction directed to Beckley, and its limited duration, the restraint will not cause Beckley any
material damage, and there has been no proof of likelihood of harm.

                                    CONCLUSIONS OF LAW

          12.  Plaintiff is likely to sustain immediate and irreparable harm to its business if
Beckley is not restrained from violating the terms of the Agreement.

          13. Plaintiff is likely to succeed and prevail on the merits of its claims and action
against Beckley.

        14.     Beckley' s covenant not to solicit employees of Plaintiff is reasonably necessary to
protect legitimate interests of Plaintiff, and do not violate any applicable law.

        15.      Based on the equities of the case favoring Plaintiff, the likelihood that Plaintiff
will suffer irreparable harm if injunctive relief is not granted, and the likelihood that Plaintiff will
succeed on the merits of the case, the Court, in its discretion, concludes that a Temporary
Restraining Order should be issued as hereinafter ordered.

          16.   A bond in the amount of                     is required to be posted by Plaintiff in
connection with the issuance of this Order as it pertains to Beckley.




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          IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED THAT:

       1.      Beckley is enjoined and restrained from, and shall immediately cease and desist
from, violating the terms of the Agreement. Without limiting the foregoing, the following acts
and practices are specifically enjoined: Inducing or attempting to influence directly or indirectly
through another person any employee of Keffer Mazda to work for Beckley or any other person
or entity with whom Beckley is or may become professionally associated.

        2.      This Temporary Restraining Order shall be binding upon Beckley and upon any
persons in active concert or participation with Beckley who receive actual notice in any manner
of this Order, by personal service or otherwise.

       3.      This Temporary Restraining Order shall stay in effect until it expires either by
Order upon the Court's consideration of Plaintiff's Motion for a Preliminary Injunction or within
ten (10) days of the issuance of this Order, whichever first occurs. The Court finds good cause
that this Temporary Restraining Order should extend for this period of time.

         4.     A bond in the amount of                  is required to be posted by Plaintiff prior
to the issuance of this Order, and this Order shall be immediately effective upon its issuance.

         Issued this the   /   day ofAugust, 2019, at /£>-/£>           a.m.




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                                                              iuperior Court Judge Presiding




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